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                IN THE UNITED STATES DISTRICT COURT


               FOR THE SOUTHERN DISTRICT OF GEORGIA

                                                   U. S. DISTRICT COURT
                          SAVANNAH DIVISION        Souihorn District of Ga.
                                                       Fllod In Office

THE UNITED STATES OF AMERICA,                                            ?oil
                                                         Deputy/Glerk
               Plaintiff,

                V.




JAMAL HENDERSON,
                                             CR417 -,229
               Defendant.




                               ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters raised in the parties' motions have been resolved by

agreement. Therefore, a hearing in this case is deemed unnecessary.



     SO ORDERED, this     ^•A day of November, 2017.




                                UNITED STATES MAGISTRATE JUDGE
                                SOUTHERN DISTRICT OF GEORGIA
